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                             United States Department of State
                             Bureau of Consular Affairs


                             VISA BULLETIN
Number 75 Volume X                                               Washington, D.C.
                              IMMIGRANT NUMBERS FOR MARCH 2023

A.   STATUTORY NUMBERS

This bulletin summarizes the availability of immigrant numbers during March for:
“Final Action Dates” and “Dates for Filing Applications,” indicating when immigrant
visa applicants should be notified to assemble and submit required documentation to
the National Visa Center.

Unless otherwise indicated on the U.S. Citizenship and Immigration Services (USCIS)
website at www.uscis.gov/visabulletininfo, individuals seeking to file applications
for adjustment of status with USCIS in the Department of Homeland Security must use
the “Final Action Dates” charts below for determining when they can file such
applications. When USCIS determines that there are more immigrant visas available for
the fiscal year than there are known applicants for such visas, USCIS will state on
its website that applicants may instead use the “Dates for Filing Visa Applications”
charts in this Bulletin.

1. Procedures for determining dates. Consular officers are required to report to the
Department of State documentarily qualified applicants for numerically limited visas;
USCIS reports applicants for adjustment of status. Allocations in the charts below
were made, to the extent possible, in chronological order of reported priority dates,
for demand received by February 9th. If all reported demand could not be satisfied,
the category or foreign state in which demand was excessive was deemed oversubscribed.
The final action date for an oversubscribed category is the priority date of the first
applicant who could not be reached within the numerical limits. If it becomes
necessary during the monthly allocation process to retrogress a final action date,
supplemental requests for numbers will be honored only if the priority date falls
within the new final action date announced in this bulletin. If at any time an annual
limit were reached, it would be necessary to immediately make the preference category
“unavailable”, and no further requests for numbers would be honored.

2. Section 201 of the Immigration and Nationality Act (INA) sets an annual minimum
family-sponsored preference limit of 226,000. The worldwide level for annual
employment-based preference immigrants is at least 140,000. Section 202 prescribes
that the per-country limit for preference immigrants is set at 7% of the total annual
family-sponsored and employment-based preference limits, i.e., 25,620. The dependent
area limit is set at 2%, or 7,320.

3. INA Section 203(e) provides that family-sponsored and employment-based
preference visas be issued to eligible immigrants in the order in which a petition
on behalf of each has been filed. Section 203(d) provides that spouses and children
of preference immigrants are entitled to the same status, and the same order of
consideration, if accompanying or following to join the principal. The visa
prorating provisions of Section 202(e) apply to allocations for a foreign state or
dependent area when visa demand exceeds the per-country limit. These provisions
apply at present to the following oversubscribed chargeability areas: CHINA-
mainland born, EL SALVADOR, GUATEMALA, HONDURAS, INDIA, MEXICO, and PHILIPPINES.
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4. Section 203(a) of the INA prescribes preference classes for allotment of Family-
sponsored immigrant visas as follows:

FAMILY-SPONSORED PREFERENCES

First: (F1) Unmarried Sons and Daughters of U.S. Citizens:         23,400 plus any numbers
not required for fourth preference.

Second: Spouses and Children, and Unmarried Sons and Daughters of Permanent
Residents: 114,200, plus the number (if any) by which the worldwide family preference
level exceeds 226,000, plus any unused first preference numbers:

A. (F2A) Spouses and Children of Permanent Residents: 77% of the overall second
preference limitation, of which 75% are exempt from the per-country limit.

B. (F2B) Unmarried Sons and Daughters (21 years of age or older) of Permanent
Residents: 23% of the overall second preference limitation.

Third: (F3) Married Sons and Daughters of U.S. Citizens:         23,400, plus any numbers
not required by first and second preferences.

Fourth: (F4) Brothers and Sisters of Adult U.S. Citizens:         65,000, plus any numbers
not required by first three preferences.

            A. FINAL ACTION DATES FOR FAMILY-SPONSORED PREFERENCE CASES

On the chart below, the listing of a date for any class indicates that the class is
oversubscribed (see paragraph 1); "C" means current, i.e., numbers are authorized
for issuance to all qualified applicants; and "U" means unauthorized, i.e., numbers
are not authorized for issuance. (NOTE: Numbers are authorized for issuance only for
applicants whose priority date is earlier than the final action date listed below.)

            All Charge-
            ability Areas    CHINA-
            Except Those     mainland
Family-     Listed           born         INDIA        MEXICO       PHILIPPINES
Sponsored

F1          01DEC14          01DEC14      01DEC14      01APR01      01MAR12

F2A             C               C             C            C            C

F2B         22SEP15          22SEP15      22SEP15      01JUN01      22OCT11

F3          22NOV08          22NOV08      22NOV08      01NOV97      08JUN02

F4          22MAR07          22MAR07      15SEP05      01AUG00      22AUG02
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                  B.    DATES FOR FILING FAMILY-SPONSORED VISA APPLICATIONS

The chart below reflects dates for filing visa applications within a timeframe
justifying immediate action in the application process. Applicants for immigrant visas
who have a priority date earlier than the application date in the chart below may
assemble and submit required documents to the Department of State’s National Visa
Center, following receipt of notification from the National Visa Center containing
detailed instructions. The application date for an oversubscribed category is the
priority date of the first applicant who cannot submit documentation to the National
Visa Center for an immigrant visa. If a category is designated “current,” all
applicants in the relevant category may file applications, regardless of priority
date.

The “C” listing indicates that the category is current, and that applications may be
filed regardless of the applicant’s priority date. The listing of a date for any
category indicates that only applicants with a priority date which is earlier than the
listed date may file their application.

Visit www.uscis.gov/visabulletininfo for information on whether USCIS has determined
that this chart can be used (in lieu of the chart in paragraph 4.A.) this month for
filing applications for adjustment of status with USCIS.

             All Chargeability CHINA-
Family-
             Areas Except      mainland   INDIA       MEXICO       PHILIPPINES
Sponsored
             Those Listed      born
F1           08AUG16          08AUG16     08AUG16     01DEC02      22APR15
F2A          C                C           C           C            C
F2B          01JAN17          01JAN17     01JAN17     01JAN02      01OCT13
F3           08NOV09          08NOV09     08NOV09     15JUN01      08NOV03
F4           15DEC07          15DEC07     22FEB06     01APR01      22APR04

5. Section 203(b) of the INA prescribes preference classes for allotment of
Employment-based immigrant visas as follows:

EMPLOYMENT-BASED PREFERENCES

First: Priority Workers: 28.6% of the worldwide employment-based preference level,
plus any numbers not required for fourth and fifth preferences.

Second: Members of the Professions Holding Advanced Degrees or Persons of
Exceptional Ability: 28.6% of the worldwide employment-based preference level, plus
any numbers not required by first preference.

Third: Skilled Workers, Professionals, and Other Workers: 28.6% of the worldwide
level, plus any numbers not required by first and second preferences, of which not
more than 10,000 may be provided to "*Other Workers".

Fourth:     Certain Special Immigrants:    7.1% of the worldwide level.

Fifth: Employment Creation: 7.1% of the worldwide level, of which 32% are reserved
as follows: 20% reserved for qualified immigrants who invest in a rural area; 10%
reserved for qualified immigrants who invest in a high unemployment area; and 2%
reserved for qualified immigrants who invest in infrastructure projects. The
remaining 68% are unreserved and are allotted for all other qualified immigrants.
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                     A. FINAL ACTION DATES FOR EMPLOYMENT-BASED PREFERENCE CASES

On the chart below, the listing of a date for any class indicates that the class is
oversubscribed (see paragraph 1); "C" means current, i.e., numbers are authorized
for issuance to all qualified applicants; and "U" means unauthorized, i.e., numbers
are not authorized for issuance. (NOTE: Numbers are authorized for issuance only for
applicants whose priority date is earlier than the final action date listed below.)

           All Charge-
           ability Areas
           Except Those CHINA-          EL SALVADOR
           Listed        mainland       GUATEMALA
                         born           HONDURAS    INDIA     MEXICO     PHILIPPINES
Employment-
Based

1st              C           01FEB22      C         01FEB22      C           C

2nd         01NOV22          08JUN19    01NOV22     08OCT11   01NOV22     01NOV22

3rd              C           01AUG18      C         15JUN12      C           C

Other         01JAN20        01JUL14   01JAN20      15JUN12    01JAN20    01JAN20
Workers

4th         01FEB22          01FEB22    15MAR18     01MAR21   01AUG20     01FEB22

Certain   01FEB22            01FEB22    15MAR18     01MAR21   01AUG20     01FEB22
Religious
Workers

5th           C          08JUL15          C         01JUN18      C           C
Unreserved
(including C5, T5, I5, R5)

5th
Set Asides:

Rural (20%)      C             C          C             C        C           C

High             C             C          C             C        C           C
Unemployment
(10%)

Infra-           C             C          C             C        C           C
structure
(2%)
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*Employment Third Preference Other Workers Category: Section 203(e) of the Nicaraguan
and Central American Relief Act (NACARA) passed by Congress in November 1997, as
amended by Section 1(e) of Pub. L. 105−139, provides that once the Employment Third
Preference Other Worker (EW) cut-off date has reached the priority date of the latest
EW petition approved prior to November 19, 1997, the 10,000 EW numbers available
for a fiscal year are to be reduced by up to 5,000 annually beginning in the
following fiscal year. This reduction is to be made for as long as necessary to
offset adjustments under the NACARA program. Since the EW final action date reached
November 19, 1997 during Fiscal Year 2001, the reduction in the EW annual limit
to 5,000 began in Fiscal Year 2002. For Fiscal Year 2023 this reduction
will be limited to approximately 150.


                    B.    DATES FOR FILING OF EMPLOYMENT-BASED VISA APPLICATIONS

The chart below reflects dates for filing visa applications within a timeframe
justifying immediate action in the application process. Applicants for immigrant visas
who have a priority date earlier than the application date in the chart may assemble
and submit required documents to the Department of State’s National Visa Center,
following receipt of notification from the National Visa Center containing detailed
instructions. The application date for an oversubscribed category is the priority date
of the first applicant who cannot submit documentation to the National Visa Center for
an immigrant visa. If a category is designated “current,” all applicants in the
relevant category may file, regardless of priority date.

The “C” listing indicates that the category is current, and that applications may be
filed regardless of the applicant’s priority date. The listing of a date for any
category indicates that only applicants with a priority date which is earlier than the
listed date may file their application.

Visit www.uscis.gov/visabulletininfo for information on whether USCIS has determined
that this chart can be used (in lieu of the chart in paragraph 5.A.) this month for
filing applications for adjustment of status with USCIS.

                      All Charge-             EL
                      ability Areas CHINA -   SALVADOR
Employment-           Except Those mainland   GUATEMALA
Based                 Listed        born      HONDURAS  INDIA         MEXICO PHILIPPINES
1st                   C           01JUN22     C            01JUN22    C         C
2nd                   01DEC22     08JUL19     01DEC22      01MAY12 01DEC22 01DEC22
3rd                   C           01SEP18     C            01AUG12    C         C
Other Workers         01FEB20     01NOV15     01FEB20      01AUG12    01FEB20   01FEB20
4th                   01MAR22     01MAR22     15APR18      01APR21    01SEP20   01MAR22
Certain Religious
                      01MAR22     01MAR22     15APR18      01APR21    01SEP20   01MAR22
Workers
5th Unreserved
(including C5,        C           01JAN16     C            08DEC19    C         C
T5, I5, and R5)
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(Chart B. DATES FOR FILING OF EMPLOYMENT-BASED VISA APPLICATIONS continued from
previous page)
                      All Charge-             EL
                      ability Areas CHINA -   SALVADOR
Employment-           Except Those mainland   GUATEMALA
Based                 Listed        born      HONDURAS  INDIA         MEXICO PHILIPPINES
 th
5 Set Aside:
                      C           C           C            C          C        C
(Rural – 20%)
5th Set Aside:
(High
                      C           C           C            C          C        C
Unemployment –
10%)
5th Set Aside:
(Infrastructure –     C           C           C            C          C        C
2%)

B.     DIVERSITY IMMIGRANT (DV) CATEGORY FOR THE MONTH OF MARCH

Section 203(c) of the INA provides up to 55,000 immigrant visas each fiscal year to
permit additional immigration opportunities for persons from countries with low
admissions during the previous five years. The NACARA stipulates that beginning with
DV-99, and for as long as necessary, up to 5,000 of the 55,000 annually allocated
diversity visas will be made available for use under the NACARA program. This will
result in reduction of the DV-2023 annual limit to approximately 54,850. DV visas
are divided among six geographic regions. No one country can receive more than seven
percent of the available diversity visas in any one year.

For March, immigrant numbers in the DV category are available to qualified
DV-2023 applicants chargeable to all regions/eligible countries as follows. When an
allocation cut-off number is shown, visas are available only for applicants with DV
regional lottery rank numbers BELOW the specified allocation cut-off number:

                     All DV Chargeability
                     Areas Except Those
  Region             Listed Separately

      AFRICA                     45,000       Except: Algeria      18,425
                                                      Egypt        16,150
                                                      Morocco      31,725

      ASIA                       18,750       Except: Iran         5,500
                                                      Nepal        8,025


      EUROPE                     26,000       Except: Russia       14,660
                                                      Uzbekistan    8,500

      NORTH AMERICA                   13
       (BAHAMAS)

      OCEANIA                     1,100

      SOUTH AMERICA,              2,100
        and the CARIBBEAN
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Entitlement to immigrant status in the DV category lasts only through the end
of the fiscal (visa) year for which the applicant is selected in the lottery. The
year of entitlement for all applicants registered for the DV-2023 program ends as
of September 30, 2023. DV visas may not be issued to DV-2023 applicants after that
date. Similarly, spouses and children accompanying or following to join DV-2023
principals are only entitled to derivative DV status until September 30, 2023.
DV visa availability through the very end of FY-2023 cannot be taken for granted.
Numbers could be exhausted prior to September 30.

C.    THE DIVERSITY (DV) IMMIGRANT CATEGORY RANK CUT-OFFS WHICH WILL APPLY
      IN APRIL

For April, immigrant numbers in the DV category are available to qualified
DV-2023 applicants chargeable to all regions/eligible countries as follows. When an
allocation cut-off number is shown, visas are available only for applicants with DV
regional lottery rank numbers BELOW the specified allocation cut-off number:

                 All DV Chargeability
                 Areas Except Those
 Region          Listed Separately

     AFRICA                50,000        Except: Algeria     27,550
                                                 Egypt       16,150
                                                 Morocco     31,725


     ASIA                  18,750        Except: Iran         5,500
                                                 Nepal       12,600


     EUROPE                30,000       Except: Russia        25,750
                                                Uzbekistan     8,500


     NORTH AMERICA              13
      (BAHAMAS)

     OCEANIA                 1,150

     SOUTH AMERICA,          2,250
       and the CARIBBEAN
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D.   VISA AVAILABILITY IN THE EMPLOYMENT-BASED SECOND PREFERENCE CATEGORY FOR ALL
     COUNTRIES (INCLUDING CHINA AND INDIA)

Since December 2022, there has been higher than expected number use and demand, mostly
due to continued new filings by applicants from all countries with priority dates
earlier than the established final action dates. This will necessitate corrective action
in the coming months to hold number use within the maximum allowed under the Fiscal Year
2023 annual limit. This situation will be continually monitored, and any necessary
adjustments will be made accordingly.

E.   VISA AVAILABILITY IN THE EMPLOYMENT-BASED THIRD (EB-3) PREFERENCE CATEGORY

Increased demand in the Employment Third category may necessitate the establishment of a
worldwide final action date (including Mexico and Philippines) in the coming months to
hold number use within the maximum allowed under the Fiscal Year 2023 annual limit. This
situation will be continually monitored, and any necessary adjustments will be made
accordingly.

F.   FURTHER RETROGRESSION IN EMPLOYMENT-BASED FOURTH (EB-4) CATEGORY

In the December 2022 Visa Bulletin, EB-4 final action and application filing dates
were established for Rest of World countries, China, India, and Philippines in
response to high demand. Number use and demand in this category have continued to
increase, which necessitates further retrogression of the final action dates and
application filing dates for Rest of World countries as well as China, India, Mexico,
and Philippines, to hold number use within the maximum allowed under the Fiscal Year
2023 annual limit. This situation will be continually monitored, and any necessary
adjustments will be made accordingly.

G.   RETROGRESSION OF THE EMPLOYMENT-BASED FIFTH (EB-5) PREFERENCE CATEGORY FINAL ACTION
     DATE FOR INDIA

In the October 2022 Visa Bulletin, a final action date and application filing date
were established in the Employment Fifth Preference Unreserved (including C5, T5, I5,
and R5) category for India to keep number use within the maximum allowed under the FY-
2023 annual limit. Number use and demand has been higher than anticipated at the
start of this fiscal year, so further retrogression has become necessary. For March,
the final action date for the EB-5 Unreserved category for India is set at 01JUN18.
The situation will be continually monitored, and any necessary adjustments made
accordingly.

H.   ANNUAL WAITING LIST REPORT OF IMMIGRANT VISA APPLICANTS IN THE FAMILY-SPONSORED AND
     EMPLOYMENT-BASED PREFERENCES REGISTERED AT THE NATIONAL VISA CENTER AS OF NOVEMBER
     1, 2022

The National Visa Center has provided the totals of applicants who are registered in the
various numerically-limited immigrant categories for processing at overseas posts. This
information is available on the Consular Affairs www.travel.state.gov website. The
direct link to the item is:

https://travel.state.gov/content/travel/en/legal/visa-law0/visa-statistics/immigrant-
visa-statistics.html

I.   FOR THE LATEST INFORMATION ON VISA PROCESSING AT U.S. EMBASSIES AND CONSULATES
     DURING THE COVID-19 PANDEMIC, PLEASE VISIT THE BUREAU OF CONSULAR AFFAIRS WEBSITE
     AT TRAVEL.STATE.GOV
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